                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

UNITED STATES OF AMERICA                        )       COLLIER/CARTER
                                                )
        v.                                      )       CASE NO. 1:09-CR-181
                                                )
DONNA SHROPSHIRE                                )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 6, 2011.

At the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of

the Indictment, conspiracy to distribute and manufacture methamphetamine in violation of 21

USC §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing, I find

that the defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

charges set forth in the lesser included offense in Count One of the Indictment, and that the

written plea agreement be accepted at the time of sentencing. I further recommend that

defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication


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of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

for the district judge.

        The defendant’s sentencing date is scheduled for Thursday, September 22, 2011, at

9:00 am.



                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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